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                           IN THE UNITED STATED DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

GERICARE MEDICAL SUPPLY, INC.                             §
                                                          §
         PLAINTIFF,                                       §
                                                          §
v.                                                        §
                                                          §
J.L. SADICK, individually, J.L. SADICK, §
P.C., TERRY WILMOT BARNES,                                §
GREGORY A. JONES, LAURA                                   §
ROMEO, IMITARI CORPORATION,                               §
COJONES CAPITAL, INC.                                     §   Civil Action No. 4:20-cv-02425
                                                          §
         DEFENDANTS,                                      §
                                                          §
----------------------------------------------------------§
                                                          §
J.L. SADICK,                                              §
                                                          §
         THIRD PARTY PLAINTIFF,                           §
                                                          §
v.                                                        §
                                                          §
IMITARI CORPORATION, TERRY                                §
WILMOT BARNES, and GREGORY A.                             §
JONES,                                                    §
                                                          §
         THIRD PARTY DEFENDANTS.                          §

   JOINT MOTION TO REINSTATE CASE FOR PURPOSES OF ENFORCING
                         SETTLEMENT

TO THE HONORABLE GEORGE C. HANKS, JR.:

         Plaintiff Gericare Medical Supply, Inc.; Defendants J.L. Sadick and J.L. Sadick, P.C.

(collectively “Sadick”); Imitari Corporation (“Imitari”); Terry Wilmot Barnes (“Barnes”);

Gregory A. Jones, Jr. (“Jones”); and Cojones Capital, Inc. (“Cojones”) (collectively the




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“Parties”) respectfully move this Court to reinstate this case for purposes of enforcing

settlement, stating as follows:

          1.   On February 22, 2022, the Parties filed a motion with the Court, seeking a

six-month extension of unexpired deadlines, advising that they had reached a settlement in

principle and anticipated a written agreement would be imminently reached at which point

they would move to close the case reserving jurisdiction to enforce the settlement. (See

Dkt. 61, p. 3.)

          2.   That same day, this Court entered an Order dismissing the case without

prejudice unless any party represents in writing filed with the Court by March 23, 2022,

that the settlement could not be completely documented. (Dkt. 63.)

          3.   The Parties are pleased to report that they have been able to reach a written

agreement resolving all claims between them; however, certain aspects of the agreement

will require further action from certain Parties, which cannot be completed before March

23, 2022.

          4.   As such, all Parties jointly request that this Court reinstate this action but

administratively close the proceeding, reserving jurisdiction to enforce the settlement.

          5.   If the Parties’ obligations are satisfied, then Gericare will file a joint

stipulation of dismissal with prejudice providing that each Party will bear their own fees

and costs by May 31, 2022.

          6.   If Parties’ obligations are not satisfied, then the Parties will file a Joint

Motion seeking entry of a Consent Final Judgment and dismissal of claims against other

parties named in the Amended Complaint without prejudice by May 31, 2022.


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          7.     No Party will be prejudiced by the relief sought in this Motion. It is not being

filed for purposes of harassment or delay but rather to serve the ends of justice and judicial

economy. Moreover, no Party opposes the Motion.

          WHEREFORE, PREMISES CONSIDERED, the Parties jointly request that this

Court reinstate this case, administratively close it and retain jurisdiction to enforce

settlement. A proposed Order is attached as “Exhibit 1.”

     Respectfully submitted this 23rd day of March, 2022.

 /s Joshua H. Threadcraft                            /s David A. Bryant, Jr.
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                                                     Attorney for Imitari Corp., Terry W.
                                                     Barnes, Gregory A. Jones, Jr. and
                                                     Cojones Capital, Inc.


                                   Certificate of Conference

          Counsel for Plaintiff has conferred with counsel for all Parties to this case regarding

their positions relating to the relief requested in this Motion and all Parties consent thereto.

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                                     Certificate of Service

          I do hereby certify that on this the 23rd day of March, 2022, I caused a copy of the

foregoing to be filed with the Clerk of Court using the CM/ECF system, which will provide

electronic notice of the filing to the following:

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                                                          /s Joshua H. Threadcraft
                                                          Joshua H. Threadcraft




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